218 F.2d 604
    INLAND WATERWAYS CORPORATION et al., Appellants,v.Milus E. DENNIE, a Seaman.
    No. 15213.
    United States Court of Appeals, Eighth Circuit.
    Dec. 17, 1954.
    
      Appeal from the United States District Court for the Eastern District of Missouri.
      Harry Richards, U.S. Atty., and Robert E. Brauer, Asst. U.S. Atty., St. Louis, Mo., for appellants.
      Douglas MacLeod, St. Louis, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on stipulation of parties.
    
    